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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND

  IN RE:                                         |
  EVERETT JOHN KLESS                             |           Case No. 16-10330-LSS
  SANDRA PATRICIA KLESS                          |           Chapter 13
               Debtor(s)                         |
                                                 |
                                                 |


     NOTICE OF FINAL CURE PAYMENT AND OPPORTUNITY FOR HEARING


NOTICE IS HEREBY GIVEN by REBECCA A. HERR, Chapter 13 Trustee, pursuant to Federal
Rule of Bankruptcy Procedure 3002.1(f), that the Trustee has made the final payment to cure the
default on the claim secured by the principal residence of the Debtor(s), as evidenced by the proof
of claim allowed in this case and funded by the confirmed plan. The Trustee payments were made
under the claim filed by (or assigned to):

                      Court Claim No. 4
                      U.S. Bank, N.A
                      c/o SN Servicing Corporation
                      323 Fifth Street
                      Eureka, CA 95501
                      Redacted Account No. 7566

The Trustee has no knowledge of and makes no representation concerning payment of other default
amounts or of post-petition amounts not provided for and funded in the plan in this case.

THE PARTIES ARE HEREBY NOTIFIED:

Within 21 days of the service of the Notice of Final Cure Payment, the creditor MUST file and
serve a Statement as a supplement to the holder’s proof of claim on the Debtor(s), the attorney for
the Debtor(s), and the Chapter 13 Trustee, pursuant to Fed.R.Bank.P.3002.1(g) indicating 1)
whether it agrees that the Debtor(s) has/have paid in full the amount required to cure the default
on the claim; and 2) whether the Debtor(s) is/are otherwise current on all payments consistent with
11 U.S.C. § 1322(b)(5).

The statement shall itemize the required cure or post-petition amounts, if any, that the holder
contends remain unpaid as of the date of the statement. The statement shall be filed as a
supplement to the holder’s proof of claim and is not subject to Rule 3001(f). Failure to notify may
result in sanctions.
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FURTHER, if the holder of the secured claim fails to timely file and serve a response to this
Notice, the Court may enter an order declaring that the Debtor(s) has/have cured the default
and that no amounts are unpaid as of the date of this Notice.


Dated: September 23, 2021                    Respectfully submitted,

                                             /s/ REBECCA A. HERR
                                             REBECCA A. HERR (Fed. Bar No. 29298)
                                             Chapter 13 Trustee
                                             185 Admiral Cochrane Drive
                                             Suite 240
                                             Annapolis, MD 21401
                                             (301) 805-4700
                                             Fax: (301) 805-9577
                                             bherr@ch13md.com


                                CERTIFICATE OF SERVICE

       I hereby certify that on September 23, 2021, I reviewed the Court’s CM/ECF

system and it reports that an electronic copy of the Notice of Final Cure Payment will be

served electronically by the Court’s CM/ECF system on the following:


Frank Morris, II, Esq frankmorrislaw@yahoo.com; bankruptcybailout@gmail.com;
Jaynell1128@yahoo.com
Counsel for Debtor(s)

Gene Jung, Esq. gjung@mtglaw.com; ecfnotifications@mtglaw.com
Counsel for Claimant


       I hereby further certify that on September 23, 2021, a copy of the Notice of Final Cure

Payment was also mailed first class mail, postage prepaid to:

Everett John Kless
Sandra Patricia Kless
24318 Red Blaze Dr.
Damascus, MD 20872
Debtor(s)
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U.S. Bank, N.A
c/o SN Servicing Corporation
323 Fifth Street
Eureka, CA 95501
Claimant

The Corporation Trust, Incorporated
2405 York Rd
Suite 201
Lutherville Timonium, MD 21093-2264
Resident Agent for US Bank N.A.

The Prentice-Hall Corporation System, MA
7 St. Paul Street
Suite 820
Baltimore, MD 21202
Resident Agent for SN Servicing Corp.




                                              /s/ REBECCA A. HERR
                                              REBECCA A. HERR
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 Case Overview                                                                                   Thursday, September 23, 2021
       Case No. 16-10330-LSS           EVERETT JOHN KLESS                                                             8:30 am
       PENDING                         SANDRA PATRICIA KLESS                                                     User: cbrown

DISBURSEMENT HISTORY

DATE          CODE      DESCRIPTION                                             CREDITOR #         CHECK NO.         AMOUNT
BSI FINANCIAL SERVICES                                Claim Number 2
Sep 30, 2017  CR       AMOUNT DISBURSED TO CREDITOR                                                1039232             2,420.34
Nov 30, 2017  CR       AMOUNT DISBURSED TO CREDITOR                                                1042698             1,613.56
Dec 31, 2017  CR       AMOUNT DISBURSED TO CREDITOR                                                1044377             1,613.56
Feb 28, 2018  CR       AMOUNT DISBURSED TO CREDITOR                                                1049080               806.78
Mar 31, 2018  CR       AMOUNT DISBURSED TO CREDITOR                                                1050761             1,613.56
Apr 30, 2018  CR       AMOUNT DISBURSED TO CREDITOR                                                1052427               806.78
May 31, 2018  CR       AMOUNT DISBURSED TO CREDITOR                                                1054126               806.78
Jun 30, 2018  CR       AMOUNT DISBURSED TO CREDITOR                                                1055781               806.78
Jul 31, 2018  CR       AMOUNT DISBURSED TO CREDITOR                                                1057438               806.78
Aug 31, 2018  CR       AMOUNT DISBURSED TO CREDITOR                                                1059067               806.78
Sep 30, 2018  CR       AMOUNT DISBURSED TO CREDITOR                                                1060733               806.78
Oct 31, 2018  CR       AMOUNT DISBURSED TO CREDITOR                                                1062399               806.78
Nov 30, 2018  CR       AMOUNT DISBURSED TO CREDITOR                                                1064050               806.78
Dec 31, 2018  CR       AMOUNT DISBURSED TO CREDITOR                                                1065741               806.78
Jan 31, 2019  CR       AMOUNT DISBURSED TO CREDITOR                                                1067298               806.78
Feb 28, 2019  CR       AMOUNT DISBURSED TO CREDITOR                                                1068929               806.78
Mar 29, 2019  CR       AMOUNT DISBURSED TO CREDITOR                                                1070540               806.78
Apr 30, 2019  CR       AMOUNT DISBURSED TO CREDITOR                                                1072158               806.78
May 31, 2019  CR       AMOUNT DISBURSED TO CREDITOR                                                1073826               806.78
Jun 28, 2019  CR       AMOUNT DISBURSED TO CREDITOR                                                1075467               806.78
Jul 31, 2019  CR       AMOUNT DISBURSED TO CREDITOR                                                1077083               806.78
Aug 30, 2019  CR       AMOUNT DISBURSED TO CREDITOR                                                1078735               806.78
Sep 30, 2019  CR       AMOUNT DISBURSED TO CREDITOR                                                1080440               806.78
Oct 30, 2019  CR       AMOUNT DISBURSED TO CREDITOR                                                2000214               806.78
Nov 30, 2019  CR       AMOUNT DISBURSED TO CREDITOR                                                2001844               806.78
Dec 31, 2019  CR       AMOUNT DISBURSED TO CREDITOR                                                2003580               200.08
TOTAL FOR BSI FINANCIAL SERVICES                                                                                      24,403.48
FAY SERVICING                                         Claim Number 2
Jul 31, 2017 CR       AMOUNT DISBURSED TO CREDITOR                                                 1036059             2,420.34
TOTAL FOR FAY SERVICING                                                                                                2,420.34
FAY SERVICING LLC                                   Claim Number 2
Jan 31, 2017 CR       AMOUNT DISBURSED TO CREDITOR                                                 1023637             1,613.56
Mar 31, 2017 CR       AMOUNT DISBURSED TO CREDITOR                                                 1027090             2,420.34
Apr 28, 2017 CR       AMOUNT DISBURSED TO CREDITOR                                                 1028925               806.78
May 31, 2017 CR       AMOUNT DISBURSED TO CREDITOR                                                 1030722               806.78
Aug 31, 2017 CR       AMOUNT DISBURSED TO CREDITOR                                                 1037764               806.78
Sep 28, 2017 CNCP     CANCELLED CHECK TO CREDITOR/PRINCIPLE                                        1037764              -806.78
TOTAL FOR FAY SERVICING LLC                                                                                            5,647.46
WELLS FARGO                                           Claim Number 2
Jul 27, 2016 CR     AMOUNT DISBURSED TO CREDITOR                                869358             1013403               806.78
Aug 31, 2016 CR     AMOUNT DISBURSED TO CREDITOR                                869358             1015071               806.78
Sep 30, 2016 CR     AMOUNT DISBURSED TO CREDITOR                                869358             1017065               806.78
Oct 28, 2016 CR     AMOUNT DISBURSED TO CREDITOR                                869358             1018949               806.78
Nov 30, 2016 CR     AMOUNT DISBURSED TO CREDITOR                                869358             1020816             1,613.56
TOTAL FOR WELLS FARGO                                                                                                  4,840.68
                                                                            DISBURSEMENT TOTAL                        37,311.96




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